
493 F.Supp.2d 1380 (2007)
In re WELLS FARGO LOAN PROCESSOR OVERTIME PAY LITIGATION
Mary Basore, et al.
v.
Wells Fargo Home Mortgage, et al., N.D. California, C.A. No. 3:07-461
Trudy Bowne, et al.
v.
Wells Fargo Home Mortgage, D. Kansas, C.A. No. 2:06-2020
No. MDL 1841.
Judicial Panel on Multidistrict Litigation.
June 22, 2007.
Before WM. TERRELL HODGES, Chairman, D. LOWELL JENSEN, J. FREDERICK MOTZ, ROBERT L. MILLER, Jr.,[*] KATHRYN H. VRATIL, DAVID R. HANSEN and ANTHONY J. SCIRICA, Judges of the Panel.

TRANSFER ORDER
WM. TERRELL HODGES, Chairman.
This litigation currently consists of two actions, one pending in the Northern District of California and the other pending in the District of Kansas. Common defendant Wells Fargo Home Mortgage (Wells Fargo) moves the Panel, pursuant to 28 U.S.C. § 1407, for an order centralizing this litigation in the District of Kansas. Responding plaintiffs oppose transfer. In the event that the Panel orders centralization over their objections, responding plaintiffs support selection of the Northern District of California as transferee forum.
On the basis of the papers filed and hearing session held, the Panel finds that these two actions involve common questions of fact, and that centralization under Section 1407 in the Northern District of California will serve the convenience of the parties and witnesses and promote the just and efficient conduct of the litigation. Both of these actions involve common factual allegations concerning Wells Fargo's alleged failure to pay overtime compensation to current and former loan processors. Centralization under Section 1407 is necessary in order to eliminate duplicative discovery, prevent inconsistent pretrial rulings, and conserve the resources of the parties, their counsel and the judiciary.
We conclude that the Northern District of California is an appropriate transferee forum in this docket because i) a somewhat related multidistrict litigation docket, In re Wells Fargo Home Mortgage Overtime Pay Litigation (MDL-1770), is already pending there; and ii) the action in this district is the broader of the two before the Panel.
IT IS THEREFORE ORDERED that, pursuant to 28 U.S.C. § 1407, the action pending in the District of Kansas is transferred to the Northern District of California and, with the consent of that court, assigned to the Honorable Marilyn H. Patel for coordinated or consolidated pretrial proceedings with the action pending in that district.
NOTES
[*]  Judge Miller took no part in the disposition of this matter.

